                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                         DOCKET NO.: 3:03CR218 (02) MU


UNITED STATES OF AMERICA            )
                                    )
      v.                            )
                                    )
CHRISTOPHER REGINALD HINES, )                              ORDER
                                    )
            Defendant.              )
                                    )
____________________________________)

       THIS MATTER comes before the Court upon Defendant’s Motion for Appeal Bond.

Upon reviewing the motion, the court will DENY the same. Defendant must report to his

designated facility with the Bureau of Prisons on August 21, 2006.

IT IS SO ORDERED.


                                              Signed: August 21, 2006




   Case 3:03-cr-00218-GCM-SCR            Document 129        Filed 08/21/06   Page 1 of 1
